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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


                                     )
PEDRO LOPEZ, et al.                  )
                                     )
               Plaintiffs,           )               CIVIL ACTION
                                     )               NO. 07-11693-JLT
               v.                    )
                                     )
CITY OF LAWRENCE, et al.             )
                                     )
               Defendants.           )
                                     )



                         AGREEMENT FOR THE PROTECTION OF
                          HIGHL Y CONFIDENTIAL MATERIAL

       WHEREAS the plaintiffs and the state defendants in the above-captioned action

recognize that public safety promotional examinations and documentation that reflects the

methods and processes by which such employment tests and validation measures are constructed

or implemented present an extraordinarily compelling case for confidentiality; and

       WHEREAS the plaintiffs and the state defendants acknowledge that the lack of stringent

controls over such highly confidential documentation can simply destroy the value, integrity, and

validity of promotional examinations; and

       WHEREAS the plaintiffs and the state defendants further acknowledge that restrictions

curbing improper dissemination of such highly confidential information beyond the creators of

the documentation are only as effective as the sanctions available to enforce them;

       NOW THEREFORE, the plaintiffs and the state defendants, in consideration of the

promises contained herein, and for other good and valuable consideration, the suffciency of

which is hereby acknowledged, do agree as follows:

       1. Definitions. The parties to this agreement agree that, as used herein, the
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following quoted words and phrases shall have the following meanings:

           a. "Plaintiffs' Experts" means only those individuals (i) specifically retained by the
                       plaintiffs to advise plaintiffs' counsel on the prosecution, of                     the above-captioned
                       action; (ii) identified as such to counsel for the state defendants in advance of
                       execution of this agreement; and (iii) who have signed this agreement and
                       furnished an original executed counterpart to state defendants' counseL.


           b. "Highly Confidential Material" means documents, data compilations, and things
                       (i) that have been designated by the producing party with a "Confidential" stamp,
                       and/or (ii) that bear a bates-stamp number that is preceded by the abbreviation
                       "C", and/or (iii) that has been reproduced on colored paper and otherwise
                       designated highly confidentiaL. Any document responsive to paragraphs 6, 7, 8, 9,
                       12,13, or 14 of   the Court's May 20, 2008, document discovery order may be
                       designated as "Highly Confidential MateriaL." "Highly Confidential Material"
                       includes but is not necessarily limited to documents which constitute or evidence:
                       (l) the contents of examinations proposed for use or actually used for making
                       promotional appointments within any municipal police force in the
                       Commonwealth of Massachusetts, (2) the methodology by which such
                       examinations are devised or scored, (3) the test answers recorded by, or scores
                       achieved by, individually-named examination-takers, (4) appeals taken from the
                       scoring of examination answers, (5) any non-party's confidential, personal data,
                       and (6) any confidential examination-related record that is not a "public record"
                       as defined in clause twenty-sixth of section seven of chapter fóur of the
                       Massachusetts General Laws. Documents reflecting the identity or comments of
                       police superior offcers who have participated in the examination-creation process
                       as subject matter experts shall also be deemed "Highly Confidential MateriaL."


            2. Persons to Whom Highly Confidential Material May Be Disclosed. Except

with the prior written consent of                   the producing party or upon explicit order of               the Court, Highly

Confidential Material shall be disclosed only to Plaintiffs' Experts and to no other individuals

not employed by the Commonwealth of Massachusetts Human Resources Division ("HRD").

The Plaintiffs' Experts agree to take all necessary steps to prevent the further dissemination of

Highly Confidential Material to others.

            3. Use, Reproduction, and Return of Highly Confidential MateriaL.

The state defendants will make available to Plaintiffs' Experts for off-site review, for a limited

period of time, as described below, the extant documents responsive to paragraphs 6-9 and 12-14


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of   the Court's May 20, 2008, document discovery order, plus similar documents pertaining to

police lieutenant promotional examinations administered by HRD in 2005,2006, or 2007. Only

the Plaintiffs' Experts are authorized to engage in off-site review of                                          this Highly Confidential

Material.

                        (a.) Reproduction              forbidden. Reproduction or copying in any fashion of
                                                                                                                                     Highly

            Confidential Material is strictly prohibited.

                        (b.) Protecting the Security of Highly Confidential Material. All Highly

            Confidential Material shall remain at all times either (i) within the personal possession of

            those entitled to have access to the material under Paragraph 2 of this Agreement; (ii)

            under lock and key; or (iii) securely sealed for transport.

                        (c.) Limited to Use in this Action: No Plaintiffs' Expert shall be permitted to

            make use of any Highly Confidential Material received pursuant to this agreement in any

            other fashion other than in direct furtherance of his obligations to produce an expert

            report in this particular forum and action unless (i) by written agreement of
                                                                                                                               the producing

            party, or (ii) pursuant to an explicit court order.

                        (d.) At Trial and in Court Filngs: If any Plaintiffs' Expert or party intends to

            disclose the content of Highly Confidential Material at trial, or in a pleading, report,

            motion, deposition, transcript, or other paper filed with this Court, such party shall

            provide at least three business days' advance notice to the producing party suffcient to

             permit the parties to consult as to how to proceed under Local Rule 7.2.

                         (e.) Return of
                                                   Confidential Material. Every single page of                          Highly Confidential

             Material received by Plaintiffs' Experts shall be returned to counsel for the state

             defendants within three (3) days of                         the court-imposed deadline for filing of              Plaintiffs'

             Experts' reports, or within fourteen (14) days of                                receipt, whichever date occurs sooner.

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                      (f) Ongoing Obligation of
                                                                   Confidentiality. The dismissal of             the state defendants

          or the termination of proceedings in this action shall not relieve the persons described in

          paragraph 2 above from the obligation of maintaining the confidentiality of all Highly

           Confidential Material received pursuant to this agreement, unless the Court orders or

           permits otherwise.


4. Redaction of Confidential Information Regarding Non-Parties. Nothing in this


Agreement shall be construed to preclude a producing party from redacting from original

documents or data compilations produced hereunder any information, data, or other material that

directly relates to a specifically named, non-party individual if the disclosure of such material

would constitute an unwarranted invasion of personal privacy or the material otherwise

constitutes "personal data" as that term is employed in Mass. Gen. Laws c. 66A, § 1. Unless the

data subject approves the disclosure of protected personal data, such data shall not be released

without the data subject first having been notified of any demand made, by means of compulsory

legal process or otherwise, in reasonable time such that the data subject may seek to have the

demand quashed.

           5. Protecting Highly Confidential Material at Depositions. No person may refuse


to answer any questions at a deposition on the sole ground that the question requires the person

to make reference to Highly Confidential MateriaL. Depositions shall proceed upon the

following basis: Prior to questioning or testimony that discloses Highly Confidential Material,

all persons present shall be advised of                      the terms and conditions of               this Agreement and the

Court's prior Protective Order governing Confidential Material and jointly requested to abide by

the terms of these agreements and order. At the request of a party, all persons not authorized to

receive Confidential Material under the Court's Protective Order shall
                                                                                                           leave the room during the

time in which such Confidential Material or Highly Confidential Material is disclosed or
                                                                             4
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discussed. Direct references on the record to the contents of Highly Confidential Material shall


be avoided whenever possible. Highly Confidential Material may be marked as a deposition

exhibit for identification purposes, but the material shall not leave the custody of counsel for the

state defendants. Information disclosed at depositions may be designated as Highly Confidential

Material by indicating on the record at the deposition the portion of the testimony that contains

confidential material, or within sixty (60) days after receipt of
                                                                                        the deposition transcript, by

notifying counsel for all parties, in writing, indicating the specific pages and lines of the

transcript that contain confidential materiaL. So designated, Highly Confidential Material

reflected in deposition transcripts shall be subject to the Court's Protective Order to the same

extent as all other Confidential MateriaL.

            6. Liabilty Exposure for Violation of the Confidentiality Provisions of this
                        Agreement.

            The undersigned stipulate and agree that any violation of the confidentiality provisions of

this agreement shall constitute a violation of
                                                                       Mass. Gen. Laws c. 93, § 42, and upon competent

evidence of a violation the Commonwealth shall be authorized to initiate an action for damages

and enforcement of               this agreement in the courts of               the Commonwealth under this or cognate

 provisions of state law.

             7. No Litigation Over Highly Confidential Material Pertaining to Lieutenant
                         Examinations.

             In exchange for Plaintiffs' Experts' access to confidential material pertaining to police

 lieutenant promotional examinations administered by HRD in 2005-2007, the plaintiffs agree

 that they will not seek to amend their complaint in this action to state any claim based on the

 development or administration of                       those examinations. Further, plaintiffs' attorneys, by executing

 this agreement, signify that the firm of
                                                                   Pyle, Rome, Lichten, Ehrenberg & Liss-Riordan, P.C.,

 wil not represent any individual in a discrimination case that is based on the individual's
                                                                           5
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participation in the 2005, 2006, or 2007 HRD-administered police lieutenant promotional

examination.

               8. Review and Approval by CounseL. Each non-attorney signatory to this

agreement affirms that he has consulted with and been advised by counsel in connection with the

execution of        this agreement and that he understands all provisions of
                                                                                           this agreement.

               9. Entire Agreement. This document sets forth the entire agreement between the

plaintiffs and the state defendants with respect to the subject matters hereof, and supersedes all

prior oral and written agreements and discussions. No other statement, promise, or agreement,

either written or oral, made by any party or the agents of any party that is not contained in this

written agreement or the confidentiality stipulation previously entered as a court order shall be

enforceable. The plaintiffs and the state defendants represent that none of them relies upon, in

entering into this agreement, any statement of any other party to this agreement except those

 statements set forth in this document. This agreement is the result of the mutual efforts of the

 signatories and no ambiguity herein is to be construed against any of them.

                10. Right to Seek Modifcation or a Court Order. No provision of this agreement


 shall be construed to prevent a court-ordered modification of
                                                                                    the parties' obligations or the

 establishment of additional protection with respect to the confidentiality of discovery materiaL.


 The state defendants expressly reserve the right to seek a protective order from the Court

 containing any or all terms contained in this agreement. Upon motion and a showing of good

  cause, with prior notice and an opportunity for the opposing party to respond, the Court shall

  have the power to make any modification hereof which justice may require.




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     Agreed to and subscribed to by the undersigned on this 2 Y- day of c; t.p teY' L 2008.




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